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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     October 29, 2018

BY ECF

The Honorable Andrew L. Carter, Jr.
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

           Re:     United States v. Elliot Halberstam, 15 Cr. 825 (ALC)

Dear Judge Carter:

        The Government writes respectfully in response to the Court’s adjournment of the
sentencing hearing in the above-captioned case to put on the open record its ongoing opposition to
further delay in this case.

        The Government’s objection to the adjournment reflects the victim and his family’s wishes.
The Government submits this letter because it assured them it would do everything it could to keep
the sentencing as currently scheduled. The ongoing delay is causing frustration and emotional
distress for the victim and his family. They are extremely upset at the delay that has characterized
this case and at the adjournment of sentencing the Court already granted, and wish to see this case
brought to a close. Indeed, they have rearranged their lives, vacations, and schedules around each
scheduled court date, and family members have made travel arrangements to be in New York City
for the sentencing itself. They are entitled to an explanation for the adjournment.

        At the time of the defendant’s guilty plea, the Court scheduled the sentencing for October
15, 2018. On August 1, 2018, at the U.S. Probation Office’s request, the Court ordered that the
defendant undergo a psychosexual evaluation in advance of his sentencing. The Court therefore
adjourned sentencing until December 17, 2018. As the Court is aware, the Government did not
believe that such an evaluation was necessary and opposed the delay. At this time, the Government
continues to believe that a psychosexual evaluation is unnecessary, because the Government does
not intend to rely on arguments about the defendant’s psychosexual disposition at sentencing.

       On Friday, October 26, 2018, the Court granted another adjournment at Probation’s
request, because the evaluation had not yet been prepared. The sentencing is now scheduled for
January 28, 2019, at 10:00 a.m. The Government also objected to this further adjournment. It has
been three months since the Court first ordered this evaluation and adjourned the sentencing. The
new sentencing date is nearly seven months after the defendant’s guilty plea. The lack of
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availability by defense counsel or the forensic psychologist apparently for months—the reasons
Probation gave for the delay—should not be a justification for ongoing adjournments.

        For all of the above reasons, the Government respectfully requests that the Court not grant
any further adjournments of sentencing without first eliciting the position of the victim and his
family.


                                               Respectfully submitted,

                                               GEOFFREY S. BERMAN
                                               United States Attorney


                                         by:
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                                               Assistant United States Attorney
                                               (212) 637-2198


cc:    Stacey Richman, Esq.
       U.S. Probation Officer Christopher Paragano (by email)
